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15 ROBERT HUNTER BIDEN
16                     UNITED STATES DISTRICT COURT
17                   CENTRAL DISTRICT OF CALIFORNIA
18                             WESTERN DIVISION
19 ROBERT HUNTER BIDEN, an                 Case No. 2:23-cv-09430-SVW-PD
   individual,
20                                         PLAINTIFF ROBERT HUNTER
               Plaintiff,                  BIDEN’S EX PARTE
21                                         APPLICATION TO SEAL THE
         vs.                               JOINT STATEMENT OF
22                                         UNRESOLVED DISCOVERY
   PATRICK M. BYRNE, an individual,        ISSUES AND EXHIBITS 1-6 & A-L
23                                         (DKT. # 76 THROUGH 76-18) AND
               Defendant.                  REPLACE WITH REDACTED
24                                         VERSIONS
25                                         Filed concurrently with Declaration of
                                           Zachary C. Hansen and [Proposed]
26                                         Order
27                                         Date: October 4, 2024
                                           Time: 9:00 AM
28                                         Ctrm.: 580

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                                              Judge: Hon. Patricia A. Donahue,
  2                                           Ctrm. 580
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  1                                   EX PARTE APPLICATION
  2               Pursuant to Central District Local Rule 79-5 and 7-19, Plaintiff Robert Hunter
  3 Biden (“Plaintiff”) applies ex parte for an order sealing the Joint Statement of
  4 Unresolved Discovery Issues (Dkt. #76) (the “Statement”) and all exhibits thereto,
  5 including Exhibit 1-6 and A-L (Dkt. #76-1 to 76-18) and permitting Plaintiff to file
  6 redacted versions to replace the Statement and Exhibits, all of which are
  7 a                                                                                  as Exhibits
  8 “A-S.” Plaintiff is seeking for this Ex Parte Application to be heard by the Court
  9 on October 4, 2024 at 9:00AM in Courtroom 580 before Magistrate Judge Donahue,
10 so as to occur simultaneously with the Parties’ Informal Discovery Conference
11 scheduled            for   the   same   time   and    place,   and   which   this    Ex Parte
12 Application directly relates.
13                On August 22, 2024, a Protective Order was entered in this case (Dkt.
14 #63), where paragraph 18 states:
15             Where any Confidential Materials or Highly Confidential
               Materials, or Information derived therefrom, is included in
16             any motion or other proceeding before the court in this
17             case, the Parties and any involved non-party shall comply
               with the terms and conditions of this Stipulation and
18             Protective Order as well as any applicable Rules of Court.
19             With respect to discovery motions or other proceedings,
               the following shall apply: If Confidential Materials,
20             Highly Confidential Materials, or Information derived
21             therefrom are submitted to or otherwise disclosed to the
               Court in connection with discove1y motions and
22             proceedings, the same shall be separately filed under seal
23             with the clerk of the Court in an envelope marked:
               "CONFIDENTIAL - FILED UNDER SEAL PURSUANT
24             TO STIPULATION AND PROTECTIVE ORDER FOR
25             CONFIDENTIALITY             OF     THE      SUBMITTED
               MATTER."
26       Exhibit L is the declaration of Defendant Patrick Byrne (“Defendant”) that
27 Defendant’s counsel marked “Highly Confidential and to be Filed Under Seal” (Dkt.
28 # 76-18) because, according to Defendant’s counsel, it contains information relating

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  1 to Defendant’s location, which is highly sensitive information because Defendant
  2 claims his life is at risk. Furthermore, references were made to Defendant’s location
  3 in the Statement and in the other various Exhibits thereto. Due to confusion on the
  4 Plaintiff’s counsel’s part, the Statement, including Exhibit L, were inadvertently filed
  5 in unredacted form. Plaintiff files this application to correct that error so that the
  6 public docket only contains the redacted version.
  7               A “good cause” standard applies to sealing or redacting of private materials
  8 unearthed during discovery that are not part of the judicial record. The relevant
  9 standard for a sealing order is simply whether “good cause” exists to protect the
10 information from disclosure. Pintos v. Pacific Creditors Ass'n, 605 F.3d 665, 678 (9th
11 Cir. 2010). The court must balance the interests in allowing discovery against the need
12 for confidentiality and relative burdens to parties (and nonparties) from disclosure to
13 the public. Id.; In re Violation of Rule 28(D), 635 F.3d 1352, 1358 (Fed. Cir. 2011).
14 Here, Defendant and Defendant’s counsel has asserted that Defendant’s life is at risk
15 and his location must be kept confidential. Because the Statement, Exhibit L, and all
16 other Exhibits, contain information relating to Defendant’s location, if Defendant’s
17 concerns are true, 1 then that is good cause to redact that information from the
18 Statement.
19                Thus, Plaintiff asks the Court to issue an order directing the Clerk of the Court
20 to seal the Statement (Dkt. #76) and all Exhibits thereto, including Exhibits 1-6 and
21 A-L (Dkt. #76-1 to 76-18) and permit Plaintiff to file redacted versions of the
22 Statement and all Exhibits to the public docket to remove references to Defendant’s
23 current location, which are attached to the concurrently filed Declaration of Zachary
24 C. Hansen (“Hansen Decl.”), at ¶¶ -2 , Ex.’s A-S.
25
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26   For the purposes of this Application, Plaintiff does not challenge Defendant’s or
   Defendant’s counsel’s claims that Defendant’s life is at risk and consents to the
27 sealing of the Statement (Dkt. #76) and all Exhibits thereto, including Exhibits 1-6
28 and A-L (Dkt. #76-1 to 76-18), and filing of the redacted versions of each document.

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  1               Pursuant to Central District Local Rule 7-19.1, on October 2, 2024, Plaintiff’s
  2 counsel informed Defendant’s counsel of their intent to seek this ex parte relief and
  3 on October 3, 2024, Defendant’s counsel indicated their intent to join the request for
  4 the relief sought by this ex parte application. (Hansen Decl., at ¶2.)
  5               Accordingly, there is good cause for the Court to grant this ex parte application
  6 in full. Further, Defendants’ counsel was provided notice of this ex parte application
  7 and has stated that he consents to the request set forth herein.
  8
  9 Dated: October 3, 2024                                EARLY SULLIVAN WRIGHT
                                                          GIZER & MCRAE LLP
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